Case 0:04-cv-60025-WJZ Document1 Entered on FLSD Docket 01/12/2004 Page 1 of 11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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ROBERT WOODS, BRYAN -

PEPITONE and ROBIN OWENS, C! \- Z LOCH

Plaintiffs, MAGISTRATE JUDGE
~ SNOW

Vs.

CITY OF PLANTATION, a Florida
municipal corporation, and PAUL SWANEY,
individually,

Defendants.

NOTICE OF REMOVAL

Defendants, CITY OF PLANTATION and PAUL SWANEY, by and through their undersigned
attorneys, pursuant to 28 U.S.C. $1446, remove this action from the 17" Judicial Circuit in and for
Broward County, State of Florida, and as grounds therefore state:

1. Counts I of the Complaint seek redress for alleged violations of the United States
Constitution through 42 U.S.C. §1983. Specifically, Plaintiffs allege that they were falsely arrested
in violation ofthe Fourth Amendment to the United States Constitution. Complaint, 19. Plaintiffalso
allege an entitlement to attorney’s fees pursuant to 42 U.S.C. $1988. Complaint, 422.

2. Defendant, CITY OF PLANTATION, accepted service of process on December 15.
2003. See, Summons, attached hereto as Exhibit “A”. The undersigned law firm will also be
representing Defendant, PAUL SWANEY, and he joins in the removal of this action.

3. Pursuant to 28 U.S.C. $§ 1331 and 1343(a)(3), this Court has original jurisdiction over
this action, as this action presents a "federal question" and seeks to redress the alleged deprivation

of the Plaintiff's civil nghts.
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4. Pursuant to 28 U.S.C. §1441(a) and (b) and §1443, this action is removable to this

Court.

5. A copy of the Complaint is attached hereto and made a part hereof as Exhibit "B" in

accordance with 28 U.S.C. §1446(a).

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been mailed via US
ej wv
Mail this ) day of January, 2004, to: Kevin B. Dennis, Esq., Moskowitz & Dennis, LLC,
Attomeys for Plaintiffs, 3111 Stirling Road, Suite C-203, Fort Lauderdale, FL 33312.

JOHNSON, ANSELMO, MURDOCH,
BURKE & GEORGE, PA

Attorney for CITY of PLANTATION

790 E. Broward Blvd., Suite 400

Fort Lauderdale, FL 33301

Tel: (954) 463-0100

Fax:(954) 463-2444

By: ae
E. BRUCE JOHNSON
Fla. Bar No. 262137

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DEC 75 2003

IN THE CIRCUIT COURT OF THE {7TH
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

ROBERT WOODS, BRYAN PEPITONE and CASE NO.

ROBIN OWENS, TUDGE. UsOR Tye
Plaintiffs,
vs.
CITY OF PLANTATION, a Florida pao OL
municipal corporation, and PAUL SWANEY,
individually, op ry Dy, ade,
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SUMMONS

THE STATE OF FLORIDA
TO ALL AND SINGULAR SHERIFFS OF SAID STATE:

YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint
in this action on the Defendant:

City of Plantation Office of the Mayor
400 N.W. 73rd Avenue
Plantation, FL 33317

Each Defendant is required to serve written defenses to the Complaintof MOSKOWITZ &
DENNIS, L.L.C., 3111 Stirling Road, Suite C-303, Ft. Lauderdale, FL 33312 within twenty (20)
days after service of this Summons on that Defendant exclusive of the day of service, and to file the
original of the defenses with the Clerk of this Court either before service on Plaintiffs’ attorney or
immediately thereafter. Ifa Defendant fails to do so, a Default will be entered against that Defendant

for the relief demanded in the Complaint.

WITNESS My Hand and Seal of said Court.

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HOWARD FORMAN,
As Clerk of said Court

UAE P Oem
; Deputy Clerk |
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Case 0:04-cv-60025-WJZ Document1 Entered on FLSD Docket 01/12/2004 Page 4 of 11

IMPORTANTE

Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recitbo de
esta notificaction, para contestar la demanda adjunta, proescrito, y presentarla anteeste tribunal. Una
llamad telefonica no lo protegera; si usted desea que el escrito, incluyendo el numero del caso y
podria ser despojado de sus ingresos y propiedades, 0 privado de sus derechos, sin previo aviso del
tribunal. Existen etros requisitos legales. Si lo desea, puede usted consultar a un abogado
immediatament. si no conoce a un abogado, puede !Jamar a una de las oficinas de asistencia legal
que aparecen en la guia telefonica.

Si desea responder a la demanda pro su cuenta, al mismi tiempo en que presenta su respuestta
ante el tnbunal, debere usted enviar por correo o entegar una copia de su respuesta a la persona
demoninada abajo como "Plaintiff/Plaintiff's Attorney." (Demandate o Abogado del Demanadante).

IMPORTANT

Des poursuites judiciaries ont ete entreprises contre vous. Vous avez 20jour consecutifs a
partir de la date de l'assignation de cet'te citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce Tribunal Un simple coup de telephone est insuffisant pour vous proteger; vous etes
obliges de deposes votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom des
parties nommes Ici, Si vous souhaitez qae le Tribunal entredre votre cause. Si vous ne deposez pas
votre reponse ecrite dans le relai requis, vous risquez de perdre la couse ainsi que votre salaire, votre
argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ultenieur du Tribunal. I] y
d'autres obligations jundiquez et vous pouvez requenr les services immediatsd'un avocat. Si vous
ne connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avocats ou a un
bureau d'assistance juridique (figurant a J'annuaire d telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, 1! vous faudra egalement, en
meme temps que cette formalite, faire parveniir ou expedier une copie au carbone ou une photocopie
de votre reponse ecrite au "Plaintiff/Plaintiffs Attomey: (Plaignant ou a son avocat) nomme ci-

dessous.

PACPWIN\HISTOR Y\03 E11 3A\550. 16
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IN THE CIRCUIT COURT OF THE 17TH
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

ROBERT WOODS, BRYAN PEPITONE and
ROBIN OWENS,

Plaintiffs, OSGQ21I72

CASE NO.
VS.

CITY OF PLANTATION, a

Florida municipal corporation, and Pe i yee ‘
PAUL SWANEY, individually, A TR UE t cpa ane
HO’ MAE miey ee me SoA “

pEr an Le Ages p cou

Defendants.

1 2003!

COMPLAINT

PLAINTIFFS, ROBERT WOODS, BRYAN PEPITONE and ROBIN OWENS, sues
the Defendant, CITY OF PLANTATION, a Florida municipal corporation and PAUL SWANEY,
individually, and allege as follows:

1. This 1s an action for damages which exceed Fifteen Thousand ($15,000.00)

Dollars, exclusive of interest and costs.

2. At all times material hereto, the Plaintiff, ROBERT WOODS (hereinafter
“WOODS” ) was a citizen of the State of Florida and a-resident of Broward County, Florida, and is
otherwise sut juris.

3. At all times material hereto, the Plaintuff, BRYAN PEPITONE (hereinafter
“PEPITONE’”), was a citizen of the State of Flonda and a resident of Broward County, Florida, and

is otherwise sul juris.

4. At all times material hereto, the Plaintiff, ROBIN OWENS (hereinatter
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“OWENS’), was a citizen of the State of Florida and a resident of Broward County, Florida, and 1s

otherwise sui juris.

5. The Defendant, THE CITY OF PLANTATION (hereinafter “CIT Y”’) was and
1S a municipal corporation created and existing pursuant to the laws of the State of Florida and 1s
located in Broward County, Florida.

6. Atall times material to this cause of action, the Defendant, PAUL SWANEY
(hereinafter “SWANEY’”), was and is an individual who, upon information and belief, is a citizen
of the State of Flornda, a resident of Broward County, and who ts or was employed by the City of
Plantation Police Department.

7. At all times material hereto, the Plantation Police Department was the
authorized law enforcement agency of CITY. All employees of the Plantation Police Department
are employees and agents of the CITY.

FACTUAL ALLEGATIONS

8. On or about November | 1, 2000, at approximately 11:58 p.m., WOODS
and OWENS, were the invitees upon the premises of 7120 N.W. 11th Court, in Plantation,
Florida.

9. On or about November 11, 2000, at approximately 11:58 p.m.,
PEPITONE, was lawfully on the premises of 7120 N.W. 11th Court, in Plantation, Florida.

10. At all times matenal hereto, PEPITONE, resided at 7120 N.W. [1th Court,
in Plantation, Flonda.

1h. The following is a description of the events that transpired between the
parties on or about November 11, 2000, commencing at approximately 11:58 p.m.:

a. PEPITONE was involved in a verbal altercation with his mother’s
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boyfriend at her place of residence. After the verbal altercation,
PEPITONE, returned to his place of residence, located at 7120
N.W. | 1th Court, in Plantation, Florida.

b. Defendant SWANEY, an officer with the Plantation Police
Department, arrived at PEPITONE’s place of residence, took
PEPITONE outside and questioned him about the circumstances
surrounding the verbal altercation, which had just taken place at
PEPITONE’s mother’s residence.

c. After questioning PEPITONE regarding the alleged verbal
alteration at his mother’s place of residence, and after a verbal
confrontation ensued between Defendant, SWANEY, and
PEPITONE, Detendant, SWANEY, forcefully placed PEPITONE
under arrest for Assault (Domestic Violence) and Resisting an
Officer with Violence.

d. Plaintiffs, WOODS and OWENS, came out of the residence and
started yelling at the officers because they felt the officers were
being abusive to PEPITONE.

e. At that point, they returned to the inside of the residence at the
request of the officers.

f. After a number of officers, as well as the K-9 unit subdued
PEPITONE, Defendant, SWANEY, entered the residence without
permission and arrested Plaintiffs, WOODS and OWENS.

g. Plaintiffs, WOODS and OWENS, were charged with resisting

arrest without violence.
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On May 7, 2003, and pursuant to F.S. 768.26(6), PEPITONE, WOODS
and OWENS sent their Notice of Claim to Defendant, CITY, via certified mail. A copy of the
Notice of Claim is attached hereto as Exhibit “A”.

13. Over six months have elapsed since the said Notice was delivered to the
CITY. which has denied Plaintiffs’ claim. A copy of the Denial letter 1s attached hereto as
Exhibit “B”,

14. All other conditions precedent to bringing this action have been

performed, excused, modified or waived.

COUNT I - FALSE ARREST CITY OF PLANTATION

Plaintiffs reallege and reaver the allegations contained tn Paragraphs | - 14 as
though fully set forth herein and further allege:

15. On or about November 11, 2000, PEPITONE was wrongly and without
just cause arrested and impnsoned without probable cause. warrant or other legal authority by
Defendant, SWANEY, who was, at all times material hereto, acting withing the course and scope
of his employment as a police officer for the CITY.

16. On or about November | 1, 2000, WOODS was wrongly and without just
cause arrested and imprisoned without probable cause, warrant or other legal authority by
Defendant, SWANEY, who was, at all times matertal hereto, acting withing the course and scope
of hts employment as a police officer for the CITY.

17. On or about November | 1, 2000, OWENS was wrongly and without just
cause arrested and imprisoned without probable cause, warrant or other legal authonty by
Defendant, SWANEY, who was, at al] times material hereto, acting withing the course and scope
of his employment as a police officer for the CITY.

18. The acts of SWANEY was done under color and pretense of the laws of
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the State of Flonda and the CITY Police Department and under the authority of his position as a
police officer for the Plantation Police Department.

19. The act of SWANEY was committed either due to his plain incompetence
or in bad faith and with malicious purpose and the specific mtent to deprive PEPITONE,
WOODS and OWENS of the following rights, privileges and immunities secured to them by the
Constitution of the United States, specifically including, but not limited to:

a. The right of PEPITONE, WOODS and OWENS to not be deprived
of live, liberty or property, without due process of law secured by
the Fourth Amendment; and

b. The right to be free from the use of excessive force during arrest
secured by the Fourth Amendment.

20. As a direct and proximate result of the action of SWANEY, PEPITONE,
WOODS and OWENS have sustained damage to their community standing and reputation,
humiliation, physical injuries, mental and medical pain and suffering, physical discomfort, loss
of time, and substantial obligations for attorneys’ fees, costs, and expenses in defense of herself
in the underlying criminal case. These damages are permanent in nature and can be expected to
continue in the future.

21, PEPITONE, WOODS and OWENS have retained the undersigned
attorneys to represent them in this action and has apreed to pay them a reasonable fee for their
Services,

22. SWANEY is liable for PEPITONE’s, WOODS’ and OWENS’ attorney
fees and costs expended in the prosecution of this action pursuant to 42 U.S.C. 1988.

WHEREFORE, Plaintiffs demand judgment for compensatory damages, costs and

attorneys’ fees, together with a trial by jury for all issues so triable as of matter of nght.
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COUNT IT - ASSAULT & BATTERY AGAINST PAUL SWANEY

Plaintiffs reallege and reaver the allegations contained 1n Paragraphs | - 22 as
though fully set forth herein and further allege:

23. This Is an action for assault and battery against Defendant, SWANEY.

24. On or about November 11, 2000, Defendant, SWANEY, used excessive
force upon the body and person of Plaintiff, PEPITONE, and did, without provocation,
carelessly, willfully and wantonly assault Plaintiff while attempting to apprehend Plainuff.

25. As aresult of the actions of the Detendant, SWANEY, and the excessive
force of the assault upon Plainuff, PEPITONE’s person and body, Plaintiff was injured in and
about his body and extremities, suffered pain therefrom, suffered disability and disfigurement,
mental anguish, expense of hospitalization, medical and nursing cure and treatment, aggravation
of a pre-existing condition, sustained permanent injunes within a reasonable degree of medical
probability, and/or permanent loss of bodily function. These injuries are permanent or
continuing in nature, and the Plaintiff will suffer these losses and impairments in the future.

WHEREFORE, the Plaintiff, BRYAN PEPIPTONE, demands judgment for
damages in excess of Fifteen Thousand Dollars ($15,000.00), together with costs incurred herein.

The Plaintiff further demands tral by jury on all issues so tnable as a matter of right.

MOSKOWITZ & DENNIS, L.L.C.
3111 Stirling Road

Suite C-303

Ft. Lauderdale, FL 33312

(954) 963-9191

(954) 963-9183 Facsimile

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Kevin B. Dennis
Florida Bar # 829110

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Js 44(RAGB9} O4-cv-60025-WJZ DocumetiVIL BOYER GHEEP Docket 01/12/2004 Page 11 of 11

The JS - 44 civil cover sheet and the information c. .ned herein neither replace nor supplement the filing and se of pleadings or other papers as required by law,

except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in 2eptember 1974, is required for the use of the Clerk of

Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE Fong) AE :

1.(a) PLAINTIFFS DEFENDANTS } fu Ls

ROBERT WOODS. BRYAN PEPITONE and ROBIN OWENS CIVY OF PLANTATION, a Florida municipal corporation, and PAUL Swany. "id. r
(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF: COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT; Megatech ean eh:

(c) ATTORNEYS (FIRM NAME ADDRESS AND TELEPHONE NUMBER) ATTORNEYS (iF KNOWN) ZL O C
- H

E. Bruce Johnson
MAGISTRATE JUDGE

Johnson, Anselmo, Murdoch, Burke & George, P.A
: a
BNO’ “v

790 E. Broward Blvd., Suite 400
Fort Lauderdale, Florida 33301 / 954/463-0100
OC: YOY bC025 USA £ES
IH. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN X IN ONE BOX FOR PLAINTIFF

(For Diversty Cases Only) AND ONE BOX FOR DEFENDANT)

Kevin B. Dennis, Moskowitz & Dennis, LLC
3111 Stirling Road, Suite C-203
Fort Lauderdale, Florida 33312/954-963-9191

(d) CIRCLE COUNTY WHERE ACTION AROSE: BROWARD

BASIS OF JURISDICTION jrcace an x In ONE Box ONLY)

PTF DEF PTF DEF
111U§ Government Ml 3 Federal Question Citizen of This State 31 01 Incorporated or Principal Place 14 G4
Plaintiff (US Government Not a Party) of Business In This State
2 2US Government 4 Diversity Citizen of Another State 32 a2 __ Incorporated and Principal Place O65 Ws
Defendant (Indicate Citizenship of Parties of Business In Another State
in Item Ill) Citizen or Subject of a 23 03 Foreign Nation “x6 a6
Foreign Country
IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY} Appeal to District
Transferred from Judge from
» 1 Original 8 2 Removed from m3 Remanded from! 4 Reinstated or 25 another district ‘4 6 Multidistrict u7 Magistrate a”
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment OL
V. NATURE OF SUIT (PLACE AN “X’ IN ONE BOX ONLY)
A CONTRACT A TORTS FORFEITURE/PENALTY A_BANKRUPTCY
7110 Insurance Personal Injury Personal Bo 610 Agriculture "1.422 Appeal 28USC 158
i: 120 Marine Injury Bn 620 Other Food & Drug
©: 130 Miller Act 1310 Airplane ': 362 Personal Br 625 Drug Seizure of ' 423 Withdrawal
:1 140 Negotiable Instrument Injury - Prop. 21USC881 28 USC 157
"150 Recovery of 315 Airplane Product Med B. 6390 Liquul Laws B 450 Comm, ILL
Overpayment & Malpractice B™ 640 RR & Truck A PROPERTY RIGHTS :1 460 Deporlation
Enforce Judgment Liability 365 Personal BC 650 Airiine Regs (1 820 Copynghts 1470 RICO
.. 151 Medicare Act Injury - B- 660 Occupational \. 830 Patent ‘: 810 Selective Service
1. 152 Recovery of Defaulted . 320 Assault, Libel & Product Safety/Health 1) 840 Trademark : 850 Securities/
Student Loans Liability B 690 Olher
(Excl Veterans) Slander > 368 Asbestos A LABOR B SOCIAL SECURITY Commodities/E xchange
153 Recovery of Personal 1 875 Customer

CORPUS:
Accommodations

444 Welfare

Penalty

iso Other Civil Rights

Condition

B 4 530 General
Ac §35 Death

BU 540 Mandamusé Other
B 0 550 Civil Rights
8B 1 555 Prison

Overpayment of 7 330 Federal Employees Injury 1710 Fair Labor Standards © B61 HIA 1395 Challenge
Veterans Benefits Product Lia “ 862 Black Lung (923) 12 USC 3410
9 160 Stockholder Sutt Liability Act 5 863 DINCIDIWW/405q 11 891 Agreulturat Acts
. 190 Other Contract 1 340 Marine Personal 720 Labor Mgmt Relations 11 864 SSD Title XVI 4 892 Econ Stab Act
1 195 Cont Prod Liability Property 1. 865 RSI(405g) i: 893 Environ mental
A REAL PROPERTY ts 345 Marine Product i. 370 Other Fraud Re rn oben Mgmt Matters
© 2t0 Land Condemn Liability +. 374 Truth in DI 2 Disclosure Act FEDERAL TAX SUITS !1 894 Energy Alloc Act
Lending isclosure Ac! !1895 Freedom on Info
B 11 220 Foreclosure AU 870 Taxes(US Plaintiff
11230 Rent and Lease (350 Motor Vehicle ! 380 Other Act
enta '1740 Railway Labor Act of Defendant
Ejectment Personal y L900 Appeal of Fee
I Veh p Au 871 IRS - Third Party
1 240 Torts {o Land 9.355 Motor Vehicle roperty © 790 Other Labor Litigation 26 USC 7609 Deter-
19 245 Tort Prod Liability Damage At 791 Empl Ret | mination Under
17290 All Other Real Product Liability °; 385 Prop Le mp! Ret Inc Equal Access to
Property Damage Security Act Justice
C 360 Other Personal injury Product U 950 Constitutionality
Liability State Statute
A CIVIL RIGHTS PRISONER Q 890 Other Statutory
PETITIONS Actions
© 441 Voting BU 510 Motions to AORB
Vacate
C 442 Employment Sentence
02 443 Housing/ HABEAS

VI. CAUSE OF ACTION (cite THE u S CiviL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY) Violation of U.S. Constitutional Rights, 4"° Amendment, 42 USC 1983
LENGTH OF TRIAL: __ 3 days estimated (for both sides to try entire case)

REQUESTED IN CHECK IF THISIS ACLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
COMPLAINT: a UNDER F.R.C.P. 23 JURY DEMAND: @YES a NO
Vil. RELATED CASE(S) IF ANY (See instructions) JUDGE: DOCKET NUMBER:
DATE January 2004 SIG UBE L N RECOR E. Bruce Johnson -- FBN 262137
7 enV APPLYING IFP JUDGE

FOR OFFICE USE ONLY RECEIPT NO: 5 gf AMOUNT
